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[Aj,Sj                                                                                                                                                          §
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